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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 DEMOCRACY FORWARD FOUNDATION,
 P.O. Box 34553
 Washington, D.C. 20043,

 Plaintiff,
                                                         Case No. 25-cv-940
 vs.

 U.S. DEPARTMENT OF EDUCATION
 400 Maryland Ave SW,
 Washington, DC 20202

 Defendant.

                          COMPLAINT FOR INJUNCTIVE RELIEF

       Plaintiff Democracy Forward Foundation brings this action against Defendant U.S.

Department of Education (“ED”) to compel compliance with the Freedom of Information Act, 5

U.S.C. § 552 (“FOIA”). Plaintiff alleges as follows.

                                     Jurisdiction and Venue

       1.      This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B)

and 28 U.S.C. § 1331.

       2.      Venue is proper under 28 U.S.C. § 1391(e), as Defendant’s headquarters are

located in Washington, D.C., within this district, and a substantial part of the events or omissions

giving rise to Plaintiff’s claims occurred here.

                                               Parties

       3.      Plaintiff Democracy Forward Foundation (“Democracy Forward”) is a not-for-

profit organization incorporated under the laws of the District of Columbia and based in
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Washington, D.C. Plaintiff works to promote transparency and accountability in government, in

part, by educating the public on government actions and policies.

       4.       Defendant ED is a federal agency within the meaning of FOIA, 5 U.S.C. §

552(f)(1), and is headquartered in Washington, D.C. ED has possession, custody, and control of

records to which Plaintiff seeks access.

                                               Facts

       5.       Democracy Forward filed several FOIA requests to Defendant following two

dramatic actions in February 2025, which call into question whether ED will continue to carry

out its legally required research and civil rights enforcement functions.

       6.       First, on February 10, 2025, ED’s Institute of Education Sciences (“IES”)

abruptly cancelled contracts through which it carried out critical education research, data

collection, data analysis, and dissemination functions. IES plays the crucial role of informing the

nation of the status and progress of our students’ education and of carrying out research to allow

policymakers and educators to improve students’ performance.

       7.       ED’s mass cancellation of 89 contracts worth nearly $900 million was abrupt and

came without any meaningful statement of reasoning. It appears that critical IES functions will

not continue following these cancellations. Reports indicated that a Department of Government

Efficiency (“DOGE”) staffer arrived at ED and demanded cancellation of these contracts without

providing any reasons. The contracts were cancelled the same day that demand was made.

       8.       Second, on February 14, 2025, ED issued a Dear Colleague Letter (“DCL”) from

Acting Assistant Secretary for Civil Rights Craig Trainor. 1 This letter changed ED’s



       1
         Craig Trainor, Dear Colleague Letter, United States Department of Education Office of
Civil Rights (February 14, 2025), https://www.ed.gov/media/document/dear-colleague-letter-
sffa-v-harvard-109506.pdf.

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interpretation of civil right laws and the constitution and threatened to withhold federal funds

from institutions that failed to comply with this reinterpretation within two weeks, as well as

promising to conduct investigations and support prosecutions of educators and schools.

       9.         Despite the threats made by the DCL, the letter was unclear about what conduct

would violate ED’s new interpretation. Millions of educators and institutions are left in the dark

about this policy of potentially enormous consequence.

                           IES Contract Cancellations FOIA (25-02408-F)

       10.        On February 13, 2025, Democracy Forward sent a FOIA request to ED seeking

the following on an expedited basis given the urgent need to inform the public:

       (1) All documentation of contract terminations for any Institute of Education
           Sciences (“IES”) contracts terminated on or around Monday, February 10,
           2025.        This would include forms for Amendment of
           Solicitation/Modification of Contract forms terminating such contracts.

       (2) All underlying contracts of any IES contract terminated on or around
           Monday, February 10, 2025.

       (3) Any list of contracts to be terminated delivered to the Acting Director of
           IES or Acting Secretary on or around February 10, 2025, by any individual
           associated with DOGE, whether in electronic or hard copy format.

       11.        In seeking expedited processing of the request, Democracy Forward certified and

explained that:

                  Given IES’s role as the “statistics, research, and evaluation arm of
                  the U.S. Department of Education” and its duty in providing
                  “scientific evidence on which to ground education practice and
                  policy” in formats that are “useful and accessible,” the public
                  urgently needs to understand which IES contracts have been
                  terminated. The termination of this work may have broad
                  implications on educational research and decision making given the
                  widespread usage of IES work. Its work is used by “educators, state
                  and local departments of education, school districts, colleges and
                  other researchers who use this work to better understand student
                  achievement, enrollment and a host of other important functions that
                  shape the education system in this country.” This work has been


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                 used for decades to shape the educational system of this country, but
                 given the result of these terminations it may become difficult to
                 access and could impact the future collection of such data. These
                 examples highlight the potential broad implications of these
                 decisions and highlight the urgent need for the public to understand
                 which contracts and work is being terminated. (footnotes omitted)

       12.       On February 14, 2025, ED acknowledged Democracy Forward’s request,

assigning it tracking number 25-02408-F, and denied Democracy Forward’s request for

expedited processing with a conclusory statement that Democracy Forward’s request did not

qualify for either of the two possible expedition categories.

       13.       On March 14, 2025, ED sent a form “20 Day Notification” stating that

Democracy Forward’s request was “forwarded to the appropriate office(s)” and was “still being

processed.”

       14.       Democracy Forward has received no further communication from ED regarding

request number 25-02408-F.

          Dear Colleague Letter and External Communications Request (25-02493-F)

       15.       On February 21, 2025, Democracy Forward sent a FOIA request to ED seeking

the following:

             (1) All electronic communications (including email messages, complete
                 email chains, calendar invitations, or attachments thereto, as well as any
                 text messages or messages sent on messaging platforms such as
                 Microsoft Teams, Skype, WhatsApp, Signal, or GChat) between (a)
                 specified agency custodians and (b) the following organizations:
                         a. Agency Custodians
                             i. Acting Secretary Denise Carter
                            ii. Chief of Staff Rachel Oglesby
                           iii. Deputy Chief of Staff for Policy and Programs
                                Jonathan Pidluzny
                           iv. Assistant Secretary for Elementary and Secondary
                                Education Kirsten Baesler
                            v. Under Secretary of Education Nicholas Kent
                           vi. Assistant Secretary for Career and Technical


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                   Education Kevin O'Farrell
            vii.   Assistant Secretary for Civil Rights Kimberly Richey
           viii.   General Counsel Jennifer Mascott
             ix.   Principal Deputy General Counsel Tom Wheeler
              x.   Deputy General Counsel Candice Jackson
             xi.   Deputy General Counsel Joshua Kleinfeld
            xii.   White House Liaison Steve Warzoha
           xiii.   Assistant Secretary for Legislation and Congressional
                   Affairs Mary Christina Riley
           xiv.    Deputy Assistant Secretary for Policy, Office for
                   Civil Rights Craig Trainor
            xv.    Deputy      Assistant     Secretary,     Office    of
                   Communications and Outreach Madi Biedermann
           xvi.    Senior Advisor, Office of Communications and
                   Outreach Julie Hartman
           xvii.   Special Assistant, Office of Communications and
                   Outreach Savannah Newhouse

          b. Organizations:
               i. Alliance Defending Freedom (including any email
                  address ending in @ADFlegal.org).
              ii. America First Legal (including any email address
                  ending in @aflegal.org).
            iii. Anti-Defamation League (including any email
                  address ending in @adl.org).
             iv. Concerned Women For America (including any email
                  address ending in @cwfa.org).
              v. Defense of Freedom Institute (including any email
                  address ending in @dfipolicy.org).
             vi. Equal Protection Project, including William “Bill”
                  Jacobson.
            vii. Faculty, Alumni, & Students Opposed to Racial
                  Preferences (including any email address ending in
                  @fasorg.org).
           viii. Pacific Legal Foundation (including any email
                  address ending in @pacificlegal.org).
             ix. Parents Defending Education (including any email
                  address ending in @defendinged.org).
              x. Students for Fair Admissions, including Edward
                  Blum, edwardjayblum@gmail.com.



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                           xi. The Brandeis Center (including any email address
                                ending in @brandeiscenter.com).
                          xii. The Ethics & Religious Liberty Commission
                                (including any email address ending in @erlc.com).
                         xiii. The Foundation Against Intolerance & Racism
                                (including any email address ending in
                                @fairforall.org).
                         xiv. United With Israel (including any email address
                                ending in @unitedwithisreal.org).
                          xv. Young America's Foundation (including any email
                                address ending in @yaf.org).
                         xvi. Zionist Organization of America (including any email
                                address ending in @zoa.org).
             (2) All electronic communications (including emails, email attachments,
                 complete email chains, calendar invitations, calendar invitation
                 attachments, text messages, or messages on messaging platforms) of the
                 ED officials listed in Item 1 regarding the Dear Colleague Letter Acting
                 Assistant Secretary for Civil Rights Craig Trainor released on February
                 14, 2025. (footnote omitted)

             (3) All electronic communications (including emails, email attachments,
                 complete email chains, calendar invitations, calendar invitation
                 attachments, text messages, or messages on messaging platforms) of the
                 ED officials listed in Item 1 regarding the descriptions and/or definitions
                 of discrimination included within the Dear Colleague Letter. Specific
                 examples of terms may include, but are not limited to:
                         a. “Race-based decision-making”
                         b. “Non-racial information”
                         c. “Overt and covert racial discrimination”
                         d. “Antidiscrimination requirements”
                         e. “Racial balancing”
                         f. “Reliance on third-party contractors, clearing houses, or
                            aggregators”

       16.      The request sought records from January 20, 2025, to the date of the search.

       17.      On February 24, 2025, ED acknowledged Democracy Forward’s request,

assigning it tracking number 25-02493-F.

       18.      Democracy Forward has received no further communication from ED regarding

request number 25-02493-F.




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                               Exhaustion of Administrative Remedies

       19.       As of the date of the Complaint, Defendant has failed to notify Democracy

Forward of determinations regarding Democracy Forward’s FOIA requests. Through

Defendant’s failure to respond within the time limits required by law, Democracy Forward has

constructively exhausted administrative remedies.

                                       CLAIM FOR RELIEF

                            Count 1 (Violation of FOIA, 5 U.S.C. § 552)

       20.       Plaintiff incorporates by reference the foregoing paragraphs as though fully set

forth herein.

       21.       By failing to respond to Plaintiff’s requests with determinations within the

statutorily mandated time period, Defendant has violated its duties under 5 U.S.C.§ 552,

including but not limited to, its duties to conduct a reasonable search for responsive records, to

take reasonable steps to release all nonexempt information, and to not withhold responsive

records.

                                     REQUEST FOR RELIEF

WHEREFORE, Plaintiff requests that this Court:

1.         Order Defendant to conduct searches for any and all responsive records to Plaintiff’s

FOIA requests using search methods reasonably calculated to lead to discovery of all responsive

records;

2.         Order Defendant to produce, by a date certain, any and all non-exempt responsive

records and a Vaughn index of any responsive records withheld under a claim of exemption;

3.         Enjoin Defendant from continuing to withhold any and all non-exempt responsive

records;




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4.    Order Defendant to grant Plaintiff’s requests for fee waivers;

5.    Award Plaintiff its costs, attorneys’ fees, and other disbursements for this action; and

6.    Grant any other relief this Court deems appropriate.

 Dated: March 31, 2025                          Respectfully submitted,

                                                /s/ Daniel A. McGrath
                                                Daniel A. McGrath (D.C. Bar No.
                                                1531723)
                                                Robin F. Thurston (Bar No. 7268942)
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